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                           UNITED STATES DISTRICT COURT
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                             WESTERN DISTRICT OF TEXAS
                                                                                            2zo
                                  AUSTIN DIVISION



JULIO LOPEZ and MICHAEL OROS,


On Behalf of Themselves and All Others
Similarly Situated,


       Plaintiffs,
                                                     Case No.: 1:20-cv-00761-LY


       V.




VOLUSION, LLC,


Defendant.


         ORDER GRANTING PRELIMINARY APPROVAL OF CLASS ACTION
         SETTLEMENT AGREEMENT AND CONDITIONALLY CERTIFYING
                 CLASS FOR SETTLEMENT PURPOSES ONLY

       WHEREAS, on July 17, 2020, Plaintiff Lopez and Plaintiff Michael Oros filed a Class

Action Complaint in this Court on July 17, 2020, asserting claims against Defendant Volusion,

LLC related to the Data Security Incident.'

       WHEREAS, on July 27, 2020, Volusion filed its Bankruptcy Case, whereupon an

automatic stay of this Litigation went into place pursuant to   11   U.S.C.   §   362(a).

       WHEREAS, on August 10, 2020, this Court entered its Order staying the Litigation.

        WHEREAS, on November 20, 2020, the Bankruptcy Court entered its Confirmation

 Capitalized terms shall have the same meaning as those assigned to them in the Settlement
Agreement.
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Order, confirming, as modified therein, the Plan. The Effective Date of the Plan occurred on

January 19, 2021.

        WHEREAS, on June 2, 2021, the Bankruptcy Court entered its Order allowing Plaintiffs

to pursue the Litigation provided that any recovery awarded shall be limited to any available

insurance proceeds covering the Reorganized Debtor (i.e., Volusion).

        WHEREAS, on August 18, 2021, this Court lifted the stay in the Litigation, and Volusion

was ordered to file an answer to Plaintiffs' Class Action Complaint on or before September 13,

2021.

        WHEREAS, on September 13, 2021, Volusion filed its Motion to Dismiss. Plaintiffs

filed their Response in Opposition to Volusion's Motion to Dismiss on October 11, 2021, and

Volusion filed its Reply in Support of its Motion to Dismiss on November 11, 2021.

        WHEREAS, Plaintiffs, individually and on behalf of themselves and the proposed Class,

and Volusion have entered into a Settlement resolving the Litigation, as set forth in the Parties'

Settlement Agreement, subject to Court approval.

        WHEREAS, Plaintiffs filed Plaintiffs' Unopposed Motion for Preliminary Approval of

Class Action Settlement, Preliminary Certification, and Approval of Notice Plan on April 12,

2022 ("Motion").

        WHEREAS, the Litigation was settled subject to the Court's approval as a result of

arm's-length negotiations, investigation, and informal discovery sufficient to permit counsel and

the Court to act knowingly, and counsel are experienced in similar litigation.

        WHEREAS, Plaintiffs, the proposed Class Representatives, have moved the Court for

entry of an order preliminarily approving the Settlement, conditionally certifying the Class for

settlement purposes only, and approving the form and method of notice upon the terms and



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conditions set forth in the Settlement Agreement, together with all exhibits thereto.

       WHEREAS, the Court having considered the Settlement Agreement, together with all

exhibits thereto and records in this case, and for good cause appearing, hereby orders as follows:

I.     CONDITIONAL CERTIFICATION OF THE CLASS

        1.      Plaintiffs' Motion (Dkt. No3     is GRANTED.

       2.       Having made the findings set forth below, the Court conditionally certifies the

following nationwide Class for settlement purposes only:

       All persons to whom Volusion sent its Notice of Data Incident dated on or about
       April 21, 2020, advising that on or about October 8, 2019, Volusion learned that
       personal information of some customers of Volusion' s merchant clients may have
       been improperly exposed as a result of malware placed on Volusion's e-
       commerce platform.

        3.      Excluded from the Class is any judge presiding over this matter and any members

of their first-degree relatives, judicial staff, the officers and directors of Volusion and its

customers who were impacted by the Data Security Incident, Class Counsel and their first-

degree relatives, and persons who timely and validly request exclusion from the Class.

        4.      For settlement purposes only, with respect to the Class, the Court preliminary

finds the prerequisites for a class action pursuant to Federal Rule of Civil Procedure 23 have

been met, in that: (a) the Class is so numerous that joinder of all individual Class members in a

single proceeding is impracticable; (b) questions of law and fact common to all Class members

predominate over any potential individual questions; (c) Plaintiffs' claims are typical of the

claims of the Class; (d) Plaintiffs and proposed Class Counsel will fairly and adequately

represent the interests of the Class; and (e) a class action is the superior method to fairly and

efficiently adjudicate this controversy.

        5.       The Court hereby appoints Plaintiffs as the Class Representatives for the Class.



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       6.       The Court hereby appoints Michael Singley, Edwards Law Group, Austin, Texas;

Melissa S. Weiner, Pearson, Simon & Warshaw, LLP, Minneapolis, Minnesota; Jonathan M.

Streisfeld, Kopelowitz Ostrow Ferguson Weiselberg and Gilbert, Fort Lauderdale, Florida; and

Hassan A. Zavareei, Tycko & Zavareei LLP, Washington D.C. as Class Counsel.

II.    PRELIMINARY APPROVAL

       7.       The terms of the Settlement, including its proposed releases, are preliminarily

approved as within the range of fair, reasonable, and adequate, and are sufficient to warrant

providing Class Notice of the Settlement to the Class, and are subject to further and final

consideration at the Final Approval Hearing provided for below. In making this determination,

the Court considered the fact that the Settlement is the product of arm' s-length negotiations

conducted by experienced and knowledgeable counsel, the current posture of the Litigation, the

benefits of the Settlement to the Class, and the risk and benefits of continuing litigation to the

Parties and the Class.

        8.      As provided for in the Settlement Agreement, if the Court does not grant final

approval of the Settlement or if the Settlement Agreement is terminated or cancelled in

accordance with its terms, then the Settlement, and the conditional certification of the Class for

settlement purposes only provided for herein, will be vacated and the Litigation shall proceed as

though the Class had never been conditionally certified for settlement purposes only, with no

admission of liability or merit as to any issue, and no prejudice or impact as to any party's

position on the issue of class certification or any other issue in the case.

III.    NOTICE OF THE SETTLEMENT TO THE CLASS

        9.       The Court appoints Kroll Settlement             Administration as the Settlement

Administrator. The responsibilities of the Settlement Administrator are set forth in the


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Settlement

Agreement.

       10.      The Court has considered the Class Notice provisions of the Settlement

Agreement, and the Postcard Notice, Email Notice, and Long Form Notice, attached as Exhibits

B, C, and D, respectively, of the Settlement Agreement, as well as the Declaration of Justin R.

Hughes of Kroll Settlement Administration LLC, In Support Of Preliminary Approval filed

concurrently with the Motion The Court finds that the Class Notice is the best notice practicable

under the circumstances, constitutes due and sufficient notice of the Settlement and this Order to

all persons entitled thereto, and is in full compliance with applicable law and due process. The

Court approves as to form and content the Postcard Notice, Email Notice, and Long Form Notice

attached as Exhibits B, C, and D to the Settlement. The Court orders the Settlement

Administrator to commence the Class Notice following entry of this Order in accordance with

the terms of the Settlement Agreement.

       11.      The Court approves as to form and content the Claim Form attached as Exhibit A

to the Settlement Agreement.

       12.      Class Members who qualify for and wish to submit a Claim Form under the

Settlement Agreement shall do so in accordance with the requirements and procedures of the

Settlement Agreement and the Claim Form under which they are entitled to seek relief. The

Claims Deadline is 90 days after the Class Notice Date. All Class Members who fail to submit a

claim in accordance with the requirements and procedures of the Settlement Agreement and

respective Claim Form shall be forever barred from receiving any such benefit but will in all

other respects be subject to and bound by the provisions of the Settlement Agreement and the

Releases contained therein.


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IV.        REQUESTS FOR EXCLUSION FROM THE CLASS

           13.      Any Class Member may make a Request for Exclusion by mailing or delivering

such request in writing to the Settlement Administrator at the address set forth in the Class

Notice.

The written notice must clearly manifest an intent to be excluded from the Class. To be effective,

a Request for Exclusion must be postmarked or delivered by the Request for Exclusion Deadline

(i.e.,   not later than 90 days after the Class Notice Date). The Request for Exclusion shall (i) state

the Class Member's full name and current address, and (ii) clearly state his or her desire to be

excluded from the Settlement and from the Class. Failure to comply with these requirements and

to timely submit the Request for Exclusion will result in the Class Member being bound by the

terms of the Settlement Agreement.

           14.      Any Class Member who submits a timely Request for Exclusion may not file an

objection to the Settlement Agreement and shall be deemed to have waived any rights or benefits

under this Settlement Agreement.

           15.      Persons falling within the definition of the Class who do not timely and validly

submit a Request for Exclusion shall be bound by the terms of the Settlement Agreement,

including its Releases, and all orders entered by the Court in connection therewith.

V.         OBJECTIONS AND NOTICES OF INTENTION TO APPEAR

           16.      Each Class Member who wishes to be heard orally at the Final Approval Hearing,

or who wishes for any objection to be considered, must file a written notice of objection by the

Objection Deadline        (i.e.,   within 90 days from the Class Notice Date).

            17.      To state a valid objection to the Settlement, the written objection must include (i)

the name of the proceedings; (ii) the Class Member's full name, current mailing address, current



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e-mail address, e-mail address which received the Notice of Data Incident from Volusion, and

telephone number; (iii) a statement of the specific grounds for the objection, as well as any

documents supporting the objection; (iv) a statement as to whether the objection applies only to

the objector, to a specific subset of the class, or to the entire class; (v) the identity of any

attorneys representing the objector; (vi) a statement regarding whether the Class Member (or

his/her attorney) intends to appear at the Final Approval Hearing; and (vii) the signature of the

Class Member or the Class Member's attorney. To be timely, the Class Member making the

objection must file the objection with the Court by mailing it to the Clerk of the United States

District Court for the Western District of Texas, Austin Division, at the address where filings are

accepted by the Clerk, on or before the Objection Deadline, and mail the objection to the

Settlement Administrator (who shall forward it to Class Counsel and Defense Counsel),

postmarked on or before the Objection Deadline.

       18.     Any objecting Class Member may appear, in person or by counsel, at the Final

Approval Hearing held by the Court, to show cause why the proposed Settlement should not be

approved as fair, adequate, and reasonable, or object to any petitions for reasonable attorneys'

fees, Service Awards, and reimbursement of reasonable litigation costs and expenses. Any

objecting Class Member intending to appear, in person or by counsel, at the Final Approval

Hearing must file with the Clerk of the Court and mail to the Settlement Administrator (who

shall forward it to Class Counsel and Defense Counsel) a Notice of Intention to Appear at the

Final Approval Hearing by the Objection Deadline. The Notice of Intention to Appear must

include copies of any papers, exhibits, or other evidence that the objecting Class Member (or

his/her counsel) will present to the Court in connection with the Final Approval Hearing.

        19.    Any Class Member who does not provide a Notice of Intention to Appear in



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complete accordance with specifications set forth in the Class Notice may be barred from

speaking or otherwise presenting any views at the Final Approval Hearing, but the Court will

still consider the objection filed by that Class Member.

       20.     Unless otherwise ordered by the Court upon a showing of good cause, objectors

who fail to properly or timely file their objections, along with the required information and

documentation set forth above, or to serve them as provided above, may not be heard during the

Final Approval Hearing, their objections may be waived, and their objections may not be

considered by the Court.

VI.    THE FINAL FAIRNESS HEARING

       21.     The Court will hold a Final Approval Hearing

at the United States Courthouse, Austin Division, 501 West Fifth Street, Suite 1100, Austin,

Texas 78701, to consider: (a) whether certification of the Class for settlement purposes only

should be confirmed; (b) whether the Settlement should be approved as fair, reasonable,

adequate and in the best interests of the Class; (c) the application by Class Counsel for an award

of attorneys' fees, costs and expenses as provided for under the Settlement Agreement; (d) the

application for Plaintiffs' Service Awards as provided for under the Settlement Agreement; (e)

whether the release of Released Claims as set forth in the Settlement Agreement should be

provided; (f) whether the Court should enter the final order and judgment; and (g) ruling upon

such other matters as the Court may deem just and appropriate. The Final Approval Hearing

may, from time to time and without further notice to Class Members, be continued or adjourned

by order of the Court.

        22.     No later than 30 days before the Exclusion Deadline and Objection Deadline,

Plaintiffs shall file their Motion for Final Approval of Class Action Settlement Agreement and
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for Award of Attorney's Fees, Costs and Class Representatives' Service Award ("Motion for

Final Approval"). No later than 7 days prior to the Final Approval Hearing, Plaintiffs shall file

their Reply Brief in Support of Motion for Final Approval, including as needed to respond to any

valid and timely objections.

        23.      The related time periods for events preceding the Final Approval Hearing are as

follows:

Event                                             Timing
Volusion provides the Settlement                   10 days after Preliminary Approval
Administrator with a list of Class Members
Email Notice will be sent to the Class (Class      24 days after Preliminary Approval
Notice Date)
Postcard Notice will be mailed to the Class        40 days after Preliminary Approval
Plaintiffs shall file their Motion for Final       84 days after Preliminary Approval
Approval of Class Action Settlement
Agreement and for Award of Attorneys' Fees,
Costs and Class Representatives' Service
Awards ("Motion for Final Approval")
Last Day to Object or Opt Out (Objection           90 days after the Class Notice Date
Deadline and Request for Exclusion
Deadline)
Reply Papers in Support of Final Approval          7 days prior to Final A   royal Hearing
Final Approval Hearing                                                         a'i*      4 £Z.
        24.      The existing stay of the Litigation, see Dkt. No. 36, shall remain in effect pending

the Court's ruling on final approval. Any action brought by a Class Member concerning a

Released Claim shall be stayed pending final approval of the Settlement.

VII.      OTHER PROVISIONS

          25.     Class Members are preliminarily enjoined from bringing any new alleged class

actions asserting any Released Claims or maintaining any existing action to assert any Released

Claims.
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It is so ORDERED.

SIGNED this         Iay   ofO22.


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